Case 3:17-cv-00072-NKM-JCH Document 1079 Filed 09/16/21 Page 1 of 7 Pageid#: 17972




                        UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF VIRGINIA
                             Charlottesville Division

    ELIZABETH SINES, SETH WISPELWEY,
    MARISSA BLAIR, APRIL MUNIZ,
    MARCUS MARTIN, NATALIE ROMERO,
    CHELSEA ALVARADO, THOMAS BAKER
    and JOHN DOE,
                          Plaintiffs,
    v.

    JASON KESSLER, RICHARD SPENCER,
    CHRISTOPHER CANTWELL, JAMES       Civil Action No. 3:17-cv-00072-NKM
    ALEX FIELDS, JR., VANGUARD
    AMERICA, ANDREW ANGLIN,
    MOONBASE HOLDINGS, LLC, ROBERT
    “AZZMADOR” RAY, NATHAN DAMIGO,
    ELLIOT KLINE a/k/a/ ELI MOSLEY,
    IDENTITY EVROPA, MATTHEW
    HEIMBACH, MATTHEW PARROTT a/k/a
    DAVID MATTHEW PARROTT,
    TRADITIONALIST WORKER PARTY,
    MICHAEL HILL, MICHAEL TUBBS,
    LEAGUE OF THE SOUTH, JEFF SCHOEP,
    NATIONAL SOCIALIST MOVEMENT,
    NATIONALIST FRONT, AUGUSTUS SOL
    INVICTUS, FRATERNAL ORDER OF THE
    ALT-KNIGHTS, MICHAEL “ENOCH”
    PEINOVICH, LOYAL WHITE KNIGHTS OF
    THE KU KLUX KLAN, and EAST COAST
    KNIGHTS OF THE KU KLUX KLAN a/k/a
    EAST COAST KNIGHTS OF THE TRUE
    INVISIBLE EMPIRE,

                           Defendants.

   SUPPLEMENTAL REPLY MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’
     MOTION FOR SANCTIONS AGAINST DEFENDANT MATTHEW HEIMBACH
Case 3:17-cv-00072-NKM-JCH Document 1079 Filed 09/16/21 Page 2 of 7 Pageid#: 17973




          Defendant Matthew Heimbach’s opposition to Plaintiffs’ motion for sanctions, ECF 1054

   (“Opp.”), is conspicuously short on factual and legal citations but long on invective toward

   Plaintiffs’ counsel. Many of the legal and factual errors in the opposition are addressed in

   Plaintiffs’ initial filing, ECF 1006, so we will not belabor them here. We write to correct the record

   with respect to two particular misrepresentations.

          First, Heimbach asserts that “Plaintiffs took only one deposition of Matthew,” arguing,

   erroneously, that Plaintiffs “fail[ed] to first avail themselves fully of the less drastic sanctions

   imposed by the Court,” which Heimbach further claimed “appear[ed] to be a pattern of behavior

   by Plaintiffs.” Opp. at 6-7 (emphasis in original). In fact, Plaintiffs took Heimbach’s deposition

   twice: first on August 9, 2019, after the Court ordered Heimbach to sit for a deposition “devoted

   exclusively to … discovery,” ECF 508 at 4, and then again on June 3, 2020, all as part of a

   longstanding effort by Plaintiffs to recover as much discoverable information as possible following

   Heimbach’s wholesale document destruction. As detailed in Plaintiffs’ initial filing, Plaintiffs

   reiterated their request for evidentiary sanctions only after the full scope of Heimbach’s extensive

   spoliation was revealed.

          Second, Heimbach dramatically understates the extent of the prejudice Plaintiffs have

   suffered from Heimbach’s failure to provide even a single text message in this case due to the

   suspicious disappearance of each of the two cell phones he used to communicate about the events

   at issue. Heimbach claims, without citation, that “Plaintiffs specifically complain about two

   outgoing text messages from Michael Tubbs to Matthew.” Opp. at 16. However, he ignores

   entirely the far more salient fact that Plaintiffs never received a single text message between

   Heimbach and multiple other co-Defendants, including his best friend and primary co-conspirator

   Matthew Parrott, who conveniently also deleted all of his text messages with Heimbach after



                                                     1
Case 3:17-cv-00072-NKM-JCH Document 1079 Filed 09/16/21 Page 3 of 7 Pageid#: 17974




   receiving document requests in this case. See ECF 1006-4, Ex. 3 (Parrott Dep. Tr.) at 285:9-289:10.

   As detailed in Plaintiffs’ supplemental brief, ECF 1006, this alone warrants adverse inferences,

   even though it represents only a fraction of the numerous sources of documents that Heimbach

   destroyed or failed to preserve.




   Date: September 16, 2021

                                                        Respectfully submitted,



                                                        Roberta A. Kaplan (pro hac vice)
                                                        Julie E. Fink (pro hac vice)
                                                        Gabrielle E. Tenzer (pro hac vice)
                                                        Michael L. Bloch (pro hac vice)
                                                        Yotam Barkai (pro hac vice)
                                                        Emily C. Cole (pro hac vice)
                                                        Alexandra K. Conlon (pro hac vice)
                                                        Jonathan R. Kay (pro hac vice)
                                                        Benjamin D. White (pro hac vice)
                                                        KAPLAN HECKER & FINK LLP
                                                        350 Fifth Avenue, 63rd Floor
                                                        New York, NY 10118
                                                        Telephone: (212) 763-0883
                                                        rkaplan@kaplanhecker.com
                                                        jfink@kaplanhecker.com
                                                        gtenzer@kaplanhecker.com
                                                        mbloch@kaplanhecker.com
                                                        ybarkai@kaplanhecker.com
                                                        ecole@kaplanhecker.com
                                                        aconlon@kaplanhecker.com
                                                        jkay@kaplanhecker.com
                                                        bwhite@kaplanhecker.com

                                                        Counsel for Plaintiffs




                                                   2
Case 3:17-cv-00072-NKM-JCH Document 1079 Filed 09/16/21 Page 4 of 7 Pageid#: 17975




     Of Counsel:

     Roberta A. Kaplan (pro hac vice)         Karen L. Dunn (pro hac vice)
     Julie E. Fink (pro hac vice)             William A. Isaacson (pro hac vice)
     Gabrielle E. Tenzer (pro hac vice)       Jessica Phillips (pro hac vice)
     Michael L. Bloch (pro hac vice)          Arpine S. Lawyer (pro hac vice)
     Yotam Barkai (pro hac vice)              PAUL WEISS RIFKIND WHARTON &
     Emily C. Cole (pro hac vice)             GARRISON LLP
     Alexandra K. Conlon (pro hac vice)       2001 K Street, NW
     Jonathan R. Kay (pro hac vice)           Washington, DC 20006-1047
     Benjamin D. White (pro hac vice)         Telephone: (202) 223-7300
     KAPLAN HECKER & FINK LLP                 Fax: (202) 223-7420
     350 Fifth Avenue, Suite 7110             jphillips@paulweiss.com
     New York, NY 10118                       kdunn@paulweiss.com
     Telephone: (212) 763-0883                wisaacson@paulweiss.com
     rkaplan@kaplanhecker.com                 alawyer@paulweiss.com
     jfink@kaplanhecker.com
     gtenzer@kaplanhecker.com                 Makiko Hiromi (pro hac vice)
     mbloch@kaplanhecker.com                  Nicholas A. Butto (pro hac vice)
     ybarkai@kaplanhecker.com                 PAUL WEISS RIFKIND WHARTON &
     ecole@kaplanhecker.com                   GARRISON LLP
     aconlon@kaplanhecker.com                 1285 Avenue of the Americas
     jkay@kaplanhecker.com                    New York, NY 10019-6064
     bwhite@kaplanhecker.com                  Telephone: (212) 373-3000
                                              Fax: (212) 757-3990
                                              mhiromi@paulweiss.com
                                              nbutto@paulweiss.com


     Robert T. Cahill (VSB 38562)             Alan Levine (pro hac vice)
     COOLEY LLP                               Philip Bowman (pro hac vice)
     11951 Freedom Drive, 14th Floor          COOLEY LLP
     Reston, VA 20190-5656                    55 Hudson Yards
     Telephone: (703) 456-8000                New York, NY 10001
     Fax: (703) 456-8100                      Telephone: (212) 479-6260
     rcahil@cooley.com                        Fax: (212) 479-6275
                                              alevine@cooley.com
                                              pbowman@cooley.com




                                          3
Case 3:17-cv-00072-NKM-JCH Document 1079 Filed 09/16/21 Page 5 of 7 Pageid#: 17976




     David E. Mills (pro hac vice)           J. Benjamin Rottenborn (VSB 84796)
     Joshua M. Siegel (VSB 73416)            WOODS ROGERS PLC
     Caitlin B. Munley (pro hac vice)        10 South Jefferson St., Suite 1400
     Samantha A Strauss (pro hac vice)       Roanoke, VA 24011
     Alexandra Eber (pro hac vice)           Telephone: (540) 983-7600
     COOLEY LLP                              Fax: (540) 983-7711
     1299 Pennsylvania Avenue, NW            brottenborn@woodsrogers.com
     Suite 700
     Washington, DC 20004
     Telephone: (202) 842-7800
     Fax: (202) 842-7899
     dmills@cooley.com
     jsiegel@cooley.com
     cmunley@cooley.com
     sastrauss@cooley.com
     aeber@cooley.com


                                             Counsel for Plaintiffs




                                         4
Case 3:17-cv-00072-NKM-JCH Document 1079 Filed 09/16/21 Page 6 of 7 Pageid#: 17977




                                  CERTIFICATE OF SERVICE

          I hereby certify that on September 16, 2021, I filed the foregoing with the Clerk of Court
   through the CM/ECF system, which will send a notice of electronic filing to:

    Elmer Woodard                                      David L. Campbell
    5661 US Hwy 29                                     Justin Saunders Gravatt
    Blairs, VA 24527                                   Duane, Hauck, Davis & Gravatt, P.C.
    isuecrooks@comcast.net                             100 West Franklin Street, Suite 100
                                                       Richmond, VA 23220
    James E. Kolenich                                  dcampbell@dhdglaw.com
    Kolenich Law Office                                jgravatt@dhdglaw.com
    9435 Waterstone Blvd. #140
    Cincinnati, OH 45249                               Counsel for Defendant James A. Fields, Jr.
    jek318@gmail.com

    Counsel for Defendants Jason Kessler, Nathan
    Damigo, and Identity Europa, Inc. (Identity
    Evropa)

    Bryan Jones                                        William Edward ReBrook, IV
    106 W. South St., Suite 211                        The ReBrook Law Office
    Charlottesville, VA 22902                          6013 Clerkenwell Court
    bryan@bjoneslegal.com                              Burke, VA 22015
                                                       edward@rebrooklaw.com
    Counsel for Defendants Michael Hill, Michael
    Tubbs, and League of the South               Counsel for Defendants Jeff Schoep, National
                                                 Socialist Movement, Nationalist Front,
                                                 Matthew Parrott, Traditionalist Worker Party
                                                 and Matthew Heimbach

    Joshua Smith
    Smith LLC
    807 Crane Avenue
    Pittsburgh, PA 15216-2079
    joshsmith2020@gmail.com

    Counsel for Defendants Matthew Parrott,
    Traditionalist Worker Party and Matthew
    Heimbach




                                                   1
Case 3:17-cv-00072-NKM-JCH Document 1079 Filed 09/16/21 Page 7 of 7 Pageid#: 17978




           I hereby certify that on September 16, 2021, I also served the following non-ECF
   participants via mail and electronic mail:

    Richard Spencer                               Christopher Cantwell
    richardbspencer@icloud.com                    Christopher Cantwell 00991-509
    richardbspencer@gmail.com                     USP Marion, 4500 Prison Rd.
                                                  P.O. Box 2000
                                                  Marion, IL 62959

    Vanguard America                              Robert “Azzmador” Ray
    c/o Dillon Hopper                             azzmador@gmail.com
    dillon_hopper@protonmail.com

    Elliott Kline a/k/a Eli Mosley
    eli.f.mosley@gmail.com
    deplorabletruth@gmail.com
    eli.r.kline@gmail.com


                                                  _________________
                                                  Michael L Bloch (pro hac vice)
                                                  KAPLAN HECKER & FINK LLP

                                                  Counsel for Plaintiffs




                                              2
